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		OSCN Found Document:IN RE: ENROLLMENT OF REGISTERED COURTROOM INTERPRETERS AND CERTIFIED SIGN LANGUAGE INTERPRETERS

					

				
  



				
					
					
						
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				IN RE: ENROLLMENT OF REGISTERED COURTROOM INTERPRETERS AND CERTIFIED SIGN LANGUAGE INTERPRETERS2021 OK 64Decided: 12/06/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 64, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION.

&nbsp;


&nbsp;


IN RE: ENROLLMENT OF REGISTERED COURTROOM INTERPRETERS AND CERTIFIED SIGN LANGUAGE INTERPRETERS



ORDER



The State Board of Examiners of Certified Courtroom Interpreters ("the Board") reports that the following named persons have applied to be enrolled as a Registered Courtroom Interpreter and have satisfied the requirements for enrollment set forth in Rule 5 of the Rules of the State Board of Examiners of Certified Courtroom Interpreters, Title 20, Chapter 23, App. II. The Board recommends that the named persons be enrolled as a Registered Courtroom Interpreter in the State of Oklahoma in the designated language(s):


	
		
			
			Jacqueline Chavez
			
			
			Spanish
			
		
		
			
			Josue Chavez
			
			
			Spanish
			
		
		
			
			Angelica Herrera
			
			
			Spanish
			
		
		
			
			Jingwen Liu
			
			
			Mandarin
			
		
		
			
			Manuel Munoz-Maldonado
			
			
			Spanish
			
		
		
			
			Cynthia Trejo
			
			
			Spanish
			
		
	


The Board also reports that the following named persons have applied to be enrolled as a Certified Sign Language Interpreter and have satisfied the requirements for enrollment set forth in Rule 12 of the Rules of the State Board of Examiners of Certified Courtroom Interpreters, Title 20, Chapter 23, App. II. The Board recommends that the named persons be enrolled as a Certified Sign Language Interpreter in the State of Oklahoma:


	
		
			
			Kimberly Duncan
			
			
			Sign Language
			
		
		
			
			Nicole Wilberding
			
			
			Sign Language
			
		
		
			
			Daniel Woodall
			
			
			Sign Language
			
		
		
			
			Rebecca Woodall
			
			
			Sign Language
			
		
	


Having satisfied the requirements set forth in Rule 5 and Rule 12 respectively, of the Rules of the State Board of Examiners of Certified Courtroom Interpreters, Title 20, Chapter 23, App. II, and having been recommended by the Board, the above named interpreters are hereby granted enrollment as Registered Courtroom Interpreters and Certified Sign Language Interpreters.

DONE BY ORDER OF THE SUPREME COURT this 6th day of December, 2021.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


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